Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 1 of 18

John C. Staulo _
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Newwn,MAons iH L- .?..'?KS UFFICE
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UNITED STATES DISTRICT COURT
l
\ JoHN C. sTAULo CASE #
PLAINT[FF,
VS.
COWLAINT
PNC MORTGAGE
DEFENDANT

 

 

Comes now .lohn C. Staulo hereinafter referred to as “Plaintift`,” and moves the court for relief
as herein requested:

PART[ES

Plaintiff in the instant cause is John C. Staulo, hereinafter referred to as “Principal
Plaintiff`." Principal Plaintift` can be contacted at 220 Woodward St., Newton, MA 02468, and
may be reached by phone at (617) 913-4560, or by email at dollysl@msn.com.

Defendant is, PNC Mortgage, and can be contacted at P.{). Box 1820, Dayton, OH,
45401.

JURISDICTION AND VENUE

This court has jurisdiction over this matter pursuant to 28 U.S-C. § 1331and § 1332
placing the Disl:rict Court in the position of .lurisdiction over:

A. claims of Federal Questions concerning Pair Debt Collection Practices Act,
hereinafter referred to as " 15 U.S.C. 1692;" questions and claims of Violation of
Constitutionally protected Fundarnental Rights;

B. violations of PlaintiE‘s common-law Rights in matters involving Federal

Corporations and lnterstate Cornmerce in the form of lending and Bankiug;

FDCPA Suit Page 1 of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 2 of 18

violations of Plaintifl’s Rights codified pursuant to Interstate Law/Compact entitled the
Uniform Commercial Code ("UCC" hereaB;er).

The amount in controversy exceeds $75,000.00.

'I'his court also has supplemental jurisdiction over all other claims that are so related to
claims in this action that they form part of the same case or controversy under Article 111 of the
United States Constitution, pursuant to 28 U.S.C. § 1367.

Venue is properly laid in the Federal Court of the United States in the Judicial District,
PuISuanf to W-

Plaintiff avers that the court has in personam jurisdiction over the named Defendant(s)as
Defendant(s) are subject to the Jurisdiction of this Federal Court by the following facts:

A. Defenth has entered into interstate commerce by causing to be transmitted
through the United States Mail, - Title 18 § 1241;

B. Defendant is subject to the FDCPA - Title 15 § 1692 et. seq. by acting as a Debt
Collector, in that Defendant is not the originator of the alleged debt, neither is
Defendant a bona tide agent of the originator or subsequent true holder of the
alleged debt.

STATENIENT OF FACTS

Plaintiff states as a fact that Defendant, on or about Friday, December 16, 2011 caused to
be prepared and sent to Plaintift`, a document noticing PlaintiH` that Defendant was the agent for
the holder of the note or the true holder of the note. h 4

Defendant made demand on Plainn`ii` for payment of an alleged debt in the amolmt of
$5,482.34. Defendant, by preparing and sending the above referenced communication claimed
authority to collect said debt. Defendant claimed the existence of a document establishing a lien
against the property owned by Plaintiff. Defendant claimed authority to exercise the provisions
of said lien document for the purposes of collecting the above alleged debt.

Fair Debt Collection Practices Act § 803. Deiinitions [15 USC 1692a]

As used in this title - (6) The term "debt collector“ means any person who uses any
instrumentality of interstate commerce or the mails in any business the principal purpose
of which is the collection of any debts, or who regularly collects or attempts to collect,
directly or indirectly, debts owed or due or asserted to be owed or due another.

Plaintiff does not admit to entering into a contractual agreement with Defendant

Defendant claimed authority to exercise foreclosure on an alleged lien against the property.

FDCPA suit Page 2 of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 3 of 18

Plaintiff does not admit to the creation of a docmnent creating a lien against PlaintiH's real
property to the benefit of Defendant

Plaintiff, prior to the above referenced payment demand, sent a letter of inquiry to
Defendant under the provisions of the Real Fstate Settlement Procedures Act, the Fair Debt
Collection Practices Act, and the Uniform Commercial Code. Said letter was sent to Defendant
on Friday, October 21, 2011 in the form of a Qualiiied Written Request This requested
validation of the fees charged to Plaintii`f at closing on the note as Plaintiff had reason to believe
that certain, if not all said fees were non-recoverable costs attributable to the lender. They were
intended to be recovered as part of the interest charged, and not added to the principal with
interest charged on them for the full term of the note. Plaintiii` also requested validation of the
debt as contemplated by the Fair Debt Collection Practices Act at 15 U.S.C. 1692g. Plaintifr` also
requested production of the original note as contemplated by Uniform Commercial Code 3-501.

Defendant has yet to properly respond to Plaintift”s qualified written request, debt
validation letter or Plaintift’s demand under the Uniform Commercial Code. Defendant’s
response to Plaintift’s letter was to send an overshadowing threat dated on the 16th ofNovember,
2011. Said letter made threats against Plaintiif in order to prevent Plaintitf nom exercising
Plaintiii’s rights under the various cons\nner protection laws. Defendant made threats of
assessing unlawful charges against PlaintiH` in prmitive retribution for making lawful requests of
Defendant Said act constitutes a civil rights violationagainst Plaintiif. 'I`herefore, Defendant,
by failing to comply with the Fair Debt Collection Practices Act and the Real Estate Settlement
Procedures Act, under the provisions of the above referenced consumer protection laws,
Defendant is without capacity to continue collection activities as Defendant is subject to
statutory estoppel from further collections attempts as a matter of law and Plaintilf is`authorized
to cease all payments until the above laws have been complied with.

FACTUAL ACCUSATION

“A claim has facial plausibility when the plaintiff pleads factual content that allows the
court to draw a reasonable inference that defendant is liable for the misconduct alleged.”
(oomles v. Kay, 577 F.3d 600(5lh Cir. 2009)

VALIDA HON OF DE'BT REQUIRED

Defendant made a presentment to Plaintiff.

§3-501. PRESENTMENT.
(a) "Presentment" means a demand made by or on behalf of a @rson entitled to enforce
an instrument (i) to pay the instrument made to the drawee or a p_ag obliged to pay the

FDCPA Suit Page 3 of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 4 of 18

instrument or, in the case of a note or accede draft payable at a bank, to the bank, or (ii)
to accept a draft made to the drawee.

ln order for Defendant to make the above demand, Defendant must have some authority
by way of a contractual agreement between Plaintiii` and Defendant and upon request, must
prove up said claim.

§ 3-501. PRESENTMENT

(b)(2) Upon demand of the person to whom presentment is made, the person making
presentment must (i) exhibit the instrumen_t, (ii) give reasonable identification and, if
presentment is made on behalf of another person, reasonable evidence of authority to do

so, and (iii) sign a receipt on the instrument for any payment made or surrender the
instrument if tirll payment is made.

Up to the date of the filing of this instant action Defendant is non-responsive to Plaintiif’ s

request for validation of the debt. Defendant’s failure to properly validate the debt allegedly
owed to Defendant gives Plaintiff reason to believe that Defendant lacks the agency, standing,
and/or capacity claimed.

In deciding whether the collection letters violate the FDCPA, we examine them ii'om the
standpoint of an unsophisticated consumer. ? See Vench v. Sheeks, 316 F3d 690, 692

(7th Cir.2003); ?Bartlett v. Heibl, 128 F.3d 497, 500 (7th Cir.l997). ?“'l`his assumes that

the debtor is uninformed, naive, or trusting[.]” ?Veach, 316 F.3d at 693 (intemal
quotations omitted). ? chever, an unsophisticated consumer possesses “rudimentary
knowledge about the financial world” and is “capable of making basic logical deductions

and inferences.” ?Pettit v. Retrieval Masters Creditors Bureau, lnc., 211 F.3d 1057, 1060

(7th Cir.2000). see Fields v. Wilber Law Firm, Donald L. Wilber and Kenneth Wilber,
USCA-02-C-0072, 7th Circuit Court, Sept 2004

In as much as Defendant’s dunning letter failed to provide validation of the alleged debt,

PlaintiH` may not, in good faith, respond with payment In the event an actual debt existed to
which Plaintiif was liable, Plaintiff would be subject to dishonor if PlaintiH` made tender to
Defendant without exercising due diligence in determining that Defendant was an agent for the
principal holding the alleged note and the payments were not properly assessed against the note.

§ 3-602. PAYMEN'I`.

(a) Subject to subsection (b), an instrument is paid to the extent payment is made (i) by or
on behalf of a pa_rty obliged to pay the instruman and (ii) to a green entitled to
enforce the instrument To the extent of the payment, the obligation of the party obliged
to pay the instrument is discharged even though payment is made with knowledge of a
claim to the instrument under Section M by another person.

(b) The obligation of a pa_rty to pay the instrument is not discharged under subsection (a)
if:

(l) a claim to the instrument under Section 3-306 is enforceable against the guy
receiving payment and (i) payment is made with knowledge by the payor that payment is
prohibited by injunction or similar process of a court of competent jurisdiction, or (ii) in
the case of an instrument other than a cashier‘s checlg teller's checl_c, or certified check,
the party making payment accepted, from the person having a claim to the instrument,
indemnity against loss resulting from refusal to pay the person entitled to enforce the
instnnnent; or

FDCPA Suit Page 4 of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 5 of 18

(2) the person making payment knows that the instrlmrent is a stolen instrument and pays
a person it knows is in wrongful possession of the instrument
Plaintit`f, on investigation and belief, alleges that Defendant has perpetrated, and

continues to perpetrate an act of negligence against Plaintif't` by attempting to collect a debt when
Defendant has failed to provide the statutorily required validation of said debt. Even if a debt did
exist, PlaintiH` would not execute payment if Plaintiji` tendered payment to a person or entity not
properly authorized to take payment

§ 3-603. TENDER OF PAYMENT.

(a) lf tender of payment of an obligation to pay an instrument is made to a I§rson entitled
to enforce the instrurnent, the effect of tender is governed by principles of law applicable
to tender of payment under a simple contract.

(b) lf tender of payment of an obligation to pay an instrument is made to a Erson entitled
to enforce the instrument and the tender is refused, there is discharge, to the extent of the
amount of the tender, of tire obligation of an indorser or accommodation gm having a
right of recourse with respect to the obligation to which the tender relates.

(c) Iftender of payment of an amount due on an instrument is made to a @rson entitled to
enforce the instrument, the obligation of the obligor to pay interest after the due date on
the amount tendered is discharged If presentment is required with respect to an
instrument and the obligor is able and ready to pay on the due date at every place of
payment stated in the instiument, the obligor is deemed to have made tender of payment
on the due date to the person entitled to enforce the instrument (Emphasis added)
Plaintiff has properly stated a claim against Defendant as Plaintiff alleged who,

defendant; what, made presentment to Plaintiff without establishing authority to make said
claim; when, on date of dunning letter referenced above; where, within the jurisdiction and venue
of this court. Plaintilt` herein pleads that defendant intended that Plaintili` act on the defendant’s
presentment, that Plaintiff believed defendant intended to take action if Plaintili` did not submit
to defendant’s demands, and Pla.intiff was subjected to a civil rights violation as a proximate
result of Defendant’s failure to abide by standing law.

FDCPA

Determining that “there is abundant evidence of the use of abusive, deceptive, and unfair
debt collection practices by many debt collectors,” Congress passed the Fair Debt Collection
Practices Act (FDCPA) to eliminate those practices 15 U.S.C. § 1692(a). The FDCPA protects
consumers who have been subjected to abusive, deceptive or unfair debt collection practices by a
debt collector in an attempt to collect a debt. See Piper v. Portno_j; 396 F.3d 227, 232 (3d Cir.
2005) (citing 15 U.S.C. §§ 1692e-t).

Defendant, in the instant case, is not a party Plaintiff knowingly entered into a contract
with. Defendant claims to hold agency or standing as a trustee or assignee of a debt. The

FDCPA Suit Page 5 of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 6 of 18

allegation of Defendant is that Defendant is collecting a debt concerning a consumer mortgage
agreement

An assignee or substitute trustee, it is a debt collector within the meaning of §§ 1692d,
l692e or 1692g4 of the FDCPA. More specilically, the argument that pursuant to the terms of §
1692a(6), assignees or substitute trustees are only liable under § 1692f(6). Section 1692a(6)
states, in relevant part., that for the purpose of section 1692f(6) of this title, the term “debt
collector” also includes any person who uses any instrumentality of interstate commerce or the
mails in any business the principal purpose of which is the enforcement of security interests
Based on this language, any argument that assignees or substitute trustees are exempt from
liability under all provisions of the FDCPA except § 1692f(6) fail as a matter of law.

Plaintii`f alleges that a mortgage is a “debt” as defined by 15 U.S.C. § l692a(5) because it
constitutes an obligation to pay money that arose out of a transaction in which the property was
primarily for personal, family or household purposes. Plaintiff also asserts that, even if
Defendant is unquestionably an assignee or substitute trustee, that fact does not preclude it from
being held liable as a debt collector. Piz)er, 396 F.3d at 232 (applying the FDCPA to debts
secured by real property); Romea v. Heiberger & Assocs., 163 F.3d 111, 116 (2d Cir. 1998)
(concluding that an eviction notice for failure to pay rent can be an attempt to collect a debt);
Shapiro & Meinhold v. Zartman, 823 P.2d 120, 124 (Colo. 1992) (holding that “a foreclosure is a
method of collecting a debt” and, thus, the defendant attorneys “are not exempt merely because
their collection activities are primarily limited to foreclosures”) with Jordan v. Kent Recovery
Servs., Inc., 731 F. Supp. 652, 658 (D. Del. 1990) (distinguishing a debt collector ii'om an
enforcer of a secmity interest, who has a “present right to a piece of secured property and
attempts to retrieve something which another person possesses but which the holder of the
security interest still owns”).

Plaintiff directs the court to consider the Folnth Circuit case of Wilson v. Draper &
Goldberg. PLLC, 443 F.3d 373 (4th Cir. 2006). The plaintiff in Wilson brought suit against the
law firm that acted as the substitute trustee for the holder of the deed of trust on the plaintiffs
property. The defendant initiated foreclosure proceedings on the plaintiffs property and sent her
a notice that provided information regarding the creditor and the amount of the debt owed. Id
The Wilson defendants included in their notice a statement specifying that they were not ‘“debt
collectors’ or acting in connection with the collection of a ‘debt.’” Id. Neverthelcss, the court
held that the default on a Deed of Trust Note is a debt, and that concluding otherwise “wonld

FDCPA Suit Page 6 of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 7 of 18

create an enormous loophole in the [FDCPA] immunizing any debt from coverage if that debt
happened to be secured by a real property interest and foreclosure proceedings were used to
collect that debt.” Id. at 376 (citing Piper, 396 P.2d at 234; Romea, 163 F.3d at 116; Shapiro,
823 P.2d at 124). The Wilson court went on to explain:

Section 1692a(6) applies to those whose only role in the debt collection process is the
enforcement cfa security interest See Jordan[, 731 F. Supp. at 657] (“It thus appears that
Congress intended an enforcer of a security interest, such as a repossession agency, to fall
outside the ambit of the FDCPA except for the provisions of § 1692K6).”). ln other
words, this provision is not an exception to the definition of debt collector, it is an
inclusion to the term debt collector. It serves to include as debt collectors, for the
purposes of § l692f(6), those who only enforce security interests lt does not exclude
those who enforce security interests but who also fall under the general definition of
“debt collector.” See Piper, 396 F.3d at 236 (“Section 16923(6) thus recognizes that there
are people who engage in the business of repossessing property, whose business does not
primarily involve communicating with debtors in an effort to secure payment of debts.”).
443 F.3d at 378 (emphasis in original).

Even if Defendant herein alleges to be acting as an assignee or substitute trustee to

enforce a Deed of Trust Note, nevertheless, in initiating collection proceedings, Defendant
undertook the role of debt collector and communicated with the PlaintiB` in a manner regulated
by the FDCPA. See Wilson, 443 F.3d at 376-78. Adopting a position that entities acting as
assignees or substitute trustees for mortgage holders are exempt horn the provisions of the
FDCPA is contrary to the stated purpose of the FDCPA. See 15 U.S.C. § l692(a) (explaining that
the FDCPA is designed to protect consumers &om tmfair collection practices). Accordingly,
Plaintiff has alleged sufficient facts to support the claim that, for the purposes of the actions
described in the complaint, the Defendant is attempting to collect a “debt” and Defendant was

acting as a “debt collector.”
NO ISSUE OF ACTUAL DEBT BEFORE THE COURT

Plaintiif has sued Defendant to demand that Defendant comply with long standing law
and well established principals of commerce In as much as Defendant demanded that Plaintiff
tender United States money to Defendant in payment of a debt, Plaintiff properly demanded
validation of the debt. Where Defendant has claimed agency for a principal, Plaintiif demands
that Defendant prove that Defendant’s alleged principal has standing as a proper holder of the
alleged obligation. Plaintiff further demands proof of Defendant’s agency to represent said
principal

. FDCPA Suit Page 7 of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 8 of 18

AGENCY

Key to the whole issue here is that agency cannot be presumed, and the pmty asserting
agency carries the burden to prove it. See Schultz v. Rural/Metro Corp., 956 S.W.2d 757, 760
(TX App. - Houston [l4th Dist.] 1997, no writ); Zuniga v. Navarro & Assocs., P.C., 153 S.W.3d
663 (TX App. - Corpus Christi 2005, pet. denied) (citing Bemsen v. Live Oak Ins. Agency, 52
S.W.3d 306, 309 (TX App. - Corpus Christi 2001, no peL)); Alamo Cmty. Coll. Dist. v.
Browning Constr. Co., 113 S.W.3d 146 (TX App. - San Antonio 2004, pet. dism’d) (citing S.
Colmty Mut. Ins. Co. v. First Bank & Trust, 750 S.W.2d 170, 172 (TX 1988)); Disney Enters.,
Inc. v. Espn`t Fin., lnc., 981 S.W.2d 25, 30 (TX App. - San Antonio 1998, pet dism’d w.o.j.);
46ray v. Black, 267 S.W. 291 (TX Civ. App. 1924) (agency is not presumed; wife cannot be
presumed to be husband’s agent). “[O]nly an alleged principal’s words or conduct that are
represented to the third party can clothe an alleged agent with apparent authority. [BML Stage
Lighting, Inc., v. Mayflower 'l`ransit, lnc., 14 S.W.3d 395, 401 (TX App. - Houston [l4th Dist.]
2000, pet. denied)].” Coleman v. Klockner & Co. AG, 180 S.W.3d 577, 588 (TX App. - Houston
[l4th Dist.] 2005, n.w.h.) (Coleman). In short, the alleged agent’s word, alone, never proves

agency.

Therefore, where agency has been challenged, as it is, here, and where it’s presumed into
existence over that objection, the burden of proof has been shitted. Beard v. Banks, 542 U.S. 406
(2004) (citing Anderson v. Liberty Lobby, Inc., 477 ‘U.S. 242, 255 (1986)); Scott v. Harris, _
U.S. __, 127 S. Ct. 1769 (2007) (citing United States v. Diebold, 369 U.S. 654, 655 (1962))
(summary judgment presumptions are against movant). Mullaney v. Wilbur, 421 U.S. 684 (1975)
(citing In re Winship, 397 U.S. 358 (1970)) (to relieve the plaintiH` of burden is to violate Due
Process); Heiner v. Donnan, 285 U.S. 312 (1932) (ii'aud and/or negligence context).

C}L‘lLLENGE IS T 0 B01HACTUAL AND APPARENTA UIHORITY.

Where there is no evidence, that a principal authorized someone to act as its agent,
agency cannot be proven by declarations of the alleged agent.” T & R Custom, Inc. v. Liberty
Mut. Ins. Co., 227 Ga. App. 144, 145 (l) (488 S.E.2d 7051 (1997). Accord Oglesby v. Farmers

Mut. Exchange, 128 Ga. App. 387, 389 161 1196 S.E.2d 674) (1973); Gr‘eble v. Morga;r, 69 Ga.
App. 641 (l) (26 S.E.2d 494) (1943). (1) Because there is no evidence in the record of Hil]iard's

FDCPA Suit _ Page 8 of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 9 of 18

agency, other than the hearsay itselt; the evidence was properly excluded See, e.g., PMS§
Posters. lnc. v. Winn Dixie Stores. 263 Ga. Aon. 246, 250-251 (11(587 S.E.2d 211) (2003).

It is tirndamental that agency cannot be proven by the [*239] declaration of the agent.
LAVELLEUR v. NUGENT 186 Iowa 234 owa 1919

Arizona law provides that agency cannot be proven by the acts or declarations of the
purported agent Cameron v. lanier, 56 Ariz. 400, 108 P.2d 579, 580 (Ariz. 1940). Instead,
Relator "must prove affirmatively the authority" of Mr. Anderson to accept service on behalf of
Dr. Levit, by either showing direct authority or implied authority. Id.United States ex rel.
Goulooze v. Levit, 2006 U.S. Dist. LEXIS 77913 (D. Ariz. 2006)

Looking first to the concept of apparent authority, it is axiomatic that such authority
exists only where there is a manifestation by the principal to a third party which causes the third
party reasonably to believe that the particular person with whom the third party is dealing has the
authority to enter into negotiations or to make representations on behalf of the principal. The
State Life Insurance Co. v. Thiel (1939), 107 Ind. App. 75, 20 N.E.2d 693; Kody Engineering
Company, lnc. et al. v. Fox and Fox Insurance Agency, Inc. (1973), 158 Ind. App. 498, 303
N.E.2d 307, 39 Ind. Dec. 537. Such a manifestation by the principal may be formd when the
principal holds out an agent as a general [***5] agent and the third party reasonably believes
that the authority exhibited is the type usually held by one in such a position; n2 or, where the

[**843] principal clothes or allows a special agent to act with the appearance of possessing
more authority than is actually conferred See: Farm Bureau Mutual Life Insurance Company v.
Coflin (1962), 136 Ind. App. 12, 186 N.E.2d 180. Thus, to prove [*139] the existence of
apparent authority, it is necessary to establish some conduct on the part of the principal which
created the appearance of authority. The representations of the agent will not suiiice, for it is the
"well established rule that agency cannot be proven by the declarations of tire agent, alone." Pan
American World Airways, Inc. v. Local Readcrs Service, Inc. (1968), 143 lnd. App. 370, 377,

240 N.E.2d 552, 556, 15 Ind. Dec. 429, 435.Storm v. Marsischke, 159 Ind. Ap_p. 136 thd. Ct.
App. 1973)

lt is elementary law that agency cannot be proven by the acts or declarations of the
alleged agent Newman v. Taylor, 69 Miss. 670, 13 So. 831; R. R. Co. v. Cocke, 64 Miss. 713, 2
So. 495; Kinnare v. Gregory, 55 Miss. 612; Gilchrist v. Pearson, 70 Nliss. 351, 12 So. 333. "An
agent’s authority cannot be proved by his acts done without the lmowledge or authority of his
principal." Whiting v. Lake, 91 Pa. 349. Therrell v. Ellis, 83 Miss. 494 (Miss. 1903)

FDCPA Suit Page 9 of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 10 of 18

b ln view of a new trial, it is proper to say that the letter, "Exhibit E," on page 8 of the
abstract, [***5] is [*695] not competent evidence in the case for any pmpose. It tends to show
the claimed agency by the declaration of the agent, and we need not cite authority in support of
the proposition that agency cannot be established by the admissions or declarations of the person
claimed to be an agent Sax v. Davis, 81 Iowa 692 (Iowa 1891)

CHALLENGE T 0 STANDDVG OFALLEGED PRlNCIPAL

Plaintij`f has reason to believe, based on the widely publicized practices of banks in the
United States that no instrument exists wherein Plaintijf can be shown to have an obligation to
Defendant and/or even if such an instrument were to exist, because of the recent practices of
banks in the United States, Plaintiff cannot be sure, absent proof, that Defendant has authority to
collect said debt.

Current practices concerning consumer mortgages wherein the promise to pay (note) is
immediately sold into an investment pool then the pool is divided up among a host of investors
then pieces are sold back and forth between parties leaves the true holder of the note in question
With the current, highly publicized practices of registering the note with Mortgage Electronic
Registration Ser'vice (MERS) for the purpose of hiding the true holder of the note behind MERS
as a so-called “nominee” has been discredited by the courts. (see Landmark v Kessler and
others) The courts have held the practice of using a straw man holder of the note to hide the
multiple sales of the note on the secondary consumer mortgage market as a scam to avoid the
requirement that the sale of a security instrument based on a consumer mortgage transaction be a
public transaction .

Plaintiffs challenge Defendant’s authority, both as to actual authority and as to apparent
authority. Actual authority arises where the principal authorizes the agent. See Cameron County
Sav. Ass’n v. Stewart Title Guaranty Co., 819 S.W.2d 600, 603 ('IX App. - Corpus Christi 1991,
writ denied). Plaintiff demands that Defendant establish the entire chain of agency, from
inception of the note up to the current alleged holder. Without said proof, no one has signature
authority. Apparent authority doesn’t exist, either.

Defendant now has the burden to prove agency. See Schulz, ctc., supra. Again, where
that burden is presumed and not compelled proved, the burden, by this request., has been shifted.
Cf. Coleman.

FDCPA Suit Page 10 of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 11 of 18

Plaintiff, on investigation and belief, alleges that Defendant violated the Fair Debt
Collections Protections Act to the detriment of Plaintii`f by using liaise, deceptive, and misleading
representations or means in connection with the collection of an alleged debt wherein Defendant
misrepresented the character, amount, and legal status of the alleged debt; (15 USC 1692(e)(2))
& (i), and by threatening to take action against Plaintiff that could not legally be taken. (15 USC
1692(¢)(5)). By causing to be sent to Plajmiff, through the United states mail, hand and/or
negligent demands for payment for which Defendant had no authority to make. Plaintiif alleges
and avers that Defendant caused to be sent through the United States Mail Service, fraud and/or
negligent demands for payment from Plaintiii` in order to facilitate the herein alleged fraud
and/or negligence Plaintiii` alleges and avers that Defendant subjected Plaintiti` to a fraud and/or
negligence scheme to collect monies not owed to Defendant and that Defendant intended to
collect the full amount on an alleged debt, which over the term of the alleged debt would amount
to $686,386.80.

Plaintiif alleges and avers that the above alleged scheme has the result of making it
impossible for a purchaser of a private residence involved in said scheme to ever achieve the
primary purpose of the contract, that of achieving quiet title at completion of the contract,

Plaintiff alleges and avers that Defendant failed to exercise due diligence concerning
Defendant’s standing to collect the alleged debt claimed by Defendant to be owed to Defendant
or Defendant’s principal, by Plaintiff.

Plaintiff alleges and avers that Defendant subjected Plaintiff to severe emotional stress
through direct or implied threat that Plaintiff would lose Plaintiii‘s primary place of residence if
Plaintiff` failed to pay the extortion demanded by Defendant

PLAINT[FF DEMANDS STRIC'I` VERIFIED PROOF

Plaintift` herein demands strict verified proof, according to the rules of evidence all of the
following:

A. that Plaintift` entered into a legal and binding contract with Defendant that would
establish the alleged debt; '

B. that Defendant is the singular and true holder of said debt instrument; Plaintiff herein
demands strict veriHed proof, according to the rules of evidence, of the standing of every
signatory on each and every document tiled into any court record concerning the
property, or sent to Plaintii`f or any other entity concerning the alleged obligation
Defendant has attempted to collect from Plaintiff.

FDCPA Suit _ Page ll of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 12 of 18

ln the event that Defendant were to prove that a debt claim exists against the property,
and that Defenth is the holder or agent for the holder of said debt, Plaintiii` demands strict
verified proof that Defendant’s claim against the debt is the singular and exclusive claim based
on the purported contract, the basis of which Defendant is attempting to collect a debt.

Plaintiji` herein demands strict veriiied proof, according to the rules of evidence that:

Plaintiii` entered into a contract with Defendant, or Defendant’s principal for whom
Defendant claims to act as agent, granting Defendant a legal claim against the property as
protection against loss in the event Plaintiii` failed to meet the obligations of the above alleged
debt.

Defendant is the true and exclusive holder, or is the proper agent for said holder, of said
legal claim against the property,

The alleged document purporting to create a lien against the property was granted by
PlaintiH` to Defendant or to Defendant's principal for whom Defendant claims to be acting as
agent

ln the event Defendant claims to have received assignment of tire alleged debt instrument,
Plaintiff herein demands strict verified proof, according to the rules of evidence that Defendant,
or Defendant’s principal, is the exclusive holder of said instrument

In the event Defendant is able to produce a bona tide lien document9 Plaintiff herein
demands strict verified proof that Plaintifr` granted such claim to Defendant by name, Defendant
is, and at all times has been the holder of the alleged note purporting to evidence a debt.

Plaintiff herein demands strict verified proof, according to the rules of evidence that
Defendant, at no time, received consideration in return for a transfer of the above referenced
note, the basis of which the above referenced lien document was allegedly written as protection
against loss to the holder, to a third party for consideration tendered

In the event Defendant claims to be the holder of a lien document that was not granted
directly to Defendant in Defendant’s name, or in the name of the principal for which Defendant
claims to act as agent, Plaintiff herein demands strict verified proof, according to the rules of
evidence, of a complete chain of legal possession of said lien document

ln the event Defendant is able to produce a complete chain of legal possession of the
above referenced document purporting to create a lien against the property, Plaintift` herein
demands strict verified proof, according to the niles of evidence that, at all times, the ownership

FDCPA Suit Page 12 of 17

Case 1:12-cV-10975-.]LT Document 1 Filed 05/23/12 Page 13 of 18

of the alleged lien document and the alleged note were transferred together such that, at no time,
one entity held the alleged lien and another held the alleged note.

In the event that Defendant were to prove that a debt claim exists against the property,
Plaint:iff demands strict verified proof that Defendant’s claim against the debt is the singular and
exclusive claim based on the purpoer debt claim which Defendant is attempting to collect.

cAUsEs 0F Ac'noN
FDCPA - 13r cAUsE oFAcrloN

Comes now Plaintiii`, and hereby complains and alleges that the Defenth did violate the
Fair Debt Collection Practices Act, 15 U.S.C. 1692e and 1692f by providing false and
misleading information by mailing a dunning letter dated Friday, Deoember 16, 2011 by U.S.P.S.
to the Plaintiif which asked for a lump sum of money. Defendant failed to prove up the
existence of a debt to which Plaintiff was liable. Defenth jailed to provide evidence to show
that Defendant was a bona fide holder of a debt instrument to which Plaintiff was liable.
Defendant failed to show agency for a bona tide holder of a debt instrument to which Plaintilf
was liable. Defendant further failed to show that said bona fide holder was also a bona tide
holder of a document establishing a lien against real property owned by Plaintilf. Defendant
further failed to itemize the various charges that comprised the total amoimt of the alleged debt.
Defendant failed to clearly and fairly communicate information about the amount of the alleged
debt to Plaintiff. 'I`his includes how the total amount due was determined if the demand for
payment includes add-on expenses like attomeys' fees or collection costs, this in violation of 15
U.S.C. 1692(e). Defendant used false, deceptive and misleading representations in connection
with collection of any debt, 15 U.S. C § 1692e. By demanding payment of a debt Plaintiji` did
not owe and by making direct, indirect, and valid threats of dire consequences to Plaintilf if
Plaintifc` failed to pay the alleged debt, Plaintiff acted in clear violation of 15 U.S.C. 1692(f),
Fields v. Wilber Law Firm, USCA-O?.-C-0072, Circuit Court, Sept 2, 2004B.

FDCPA - 2"” CA UsE 0FACT10N

Defendants “Bill” meets the definition of overshadowing. The overshadowing in the
document sent to the Plaintiff stated to “balance due” and “account paid in full which
overshadows the consumer warning on the document 1996 U.S. Dist. LEXIS 22555, DEBRA
TYCHEWICZ, Plaintilf, v. RICHARD DOBBERSTEIN d/b/a CREDIT ASSOCIATES,
Defendant 96-C-Ol95-S USDC FOR 'I'I-[E WESTERN DIS'I`RICT OF WISCONSIN.

FDCPA suit Page 13 of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 14 of 18

NEGLIGENCE - 3“" cA USE oFAcrroN

Defendant, on Friday, December 16, 2011 caused to he sent to Plaintift`, through the
United States Mail, a letter demanding that Plaint:iii` pay United States Money in the amount of
$5,482.34. The letter was in the form of a monthly payment Defendant acted to miss-lead
Plaintiff into believing that Plaintiif was under obligation to forfeit Plaintiffs personal property
to Defendant in the form of money of the United States. Defendant made the above referenced
demand on Plaintilf under the guise of being a debt collector, attempting to collect a debt.

Defendant made a false representation to Plaintiff demanding payment on a debt.
Defendant lmew, or should have known that said demand was made without standing or capacity
on the part of Defendant. Defendant intended that Plaintiff accept the representation of
Defendant as true. Plaintiii` believed Defendant and was harmed thereby.

Defendant, by falsely demanding payment li'om Plaintr`ff when Defendant lacked
standing and/or capacity to make such demand was an act of criminal fraud and/or negligence
which results in the civil tort alleged here imder the cause of action of common law fraud and/or

negligence or fraud and/or negligence per se.
STIPULATION SUBJECT TO DISCOVERY

In the interest of judicial economy and of limiting the scope of this litigation, Plaintiff is
prepared to stipulate Defendant’s standing and Hle an amended complaint, without requiring
Defendant to prepare an answer to the current complaint, if Defendant provides proof of said
standing as demanded above.

JURY DEMAND

Plaintil.’c`requests ajury trial onall issuesoffactand lawraisedbythe allegationsinthis
Complaint. '

PRAYER

WHEREFORE, Plaintifl` prays for judgment against the Defendant and Defendant’s co-
conspirators as follows:
1. For quiet title to Property against claims by Defendant;

2. For disgorgement of all amoimts wrongftu acquired by Defendant according to
proof at trial;

3. For $2,000.00 for each violation of the Fair Debt Collection Practices Act as
proved up at trial;

FDCPA Suit Page 14 of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 15 of 18

4. For three times the amount Defendant intended to defraud Plaintiff of. A sum
equal to $16,447.02 at present, to be adjusted as needed;

5. F or pain and suffering due to extreme mental anguish in an amount to be
determined at trial;

6. For pre-judgment and post-judgment interest according to proof at trial;

7. For attomey's fees and costs as provided by statute; and,

For such other relief as the Court deems just and proper.

Respectfully,

C.a%l¢

olin C. Staulo

FDCPA suit Page 15 of 17

Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 16 of 18

VERIFICATION

l, John C. Staulo do swear and affirm that all statements made herein are true and aecm‘ate, in all

res cts, to the best of my knowledge.
W
hn C. Staulo

220 Woodward St.
Newton, MA 02468

The Person above, who proved to me on the basis of satisfactory evidence to be the person
whose name is subscribed to this document and acknowledged to me that lie/she executed the
same in his authorized capacity and that by his signature on this instrument who is the person
who executed this instrument

I certify under PENALTY OF PERJURY under the laws of this State that the foregoing
paragraph is true and correct.

wimess my hand and official seat » .. .;

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TARY PUBLIC IN AND FOR Notary Seal Q)\ C\ \%O\%
THE STATE OF MASSACHUSETTS ~ v

FDCPA Suit Page 16 of 17

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Case 1:12-cv-10975-.]LT Document 1 Filed 05/23/12 Page 18 of 18

CERTIFICATE OF SERVICE

I hereby, John C. Staulo certify that a true and correct copy of above and foregoing has been
delivered to PNC Mortgage, P.O. Box 1820, Dayton, OH 45401, on this the ___ day of
2012, by certified mail (Certilied Mail Receipt #

), in accordance with the rules governing same.

 

John C. Staulo
220 Woodward St.
Newton, MA 02468

FDCPA Suit Page 17 of 17

